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                        UNITED STATES DISTRICT COURT FOR
                         THE NORTHERN DISTRICT OF TEXAS |j l || || ll-l |1
                                    DALLAS DIVISION
HADRIAN MUMPUKU, Individually,                                                DEC 1 5 20Z0
            PLAINTIFF,                                                   CLERK, U.S. DISTRICT COURT
     vs.                                                                 EASTERN DISTRICT OF TEXAS

CITY OF PLANO, PLANO POLICE
DEPARTMENT, BRAD NEAL, Individually,
JOHN DOE, Individually,                                            Civil Action No:

MEDICAL CafFER OF PLANO
            V
            DEFENDANTS.
                                             \
                  PLAINTTIFS QRIGINA COMPLAINT AND JURY DEMAND
        COMES NOW Plaintiff, Hadrian Mumpuku, ( Plaintiff ) by and through his

  undersigned attorney, bringing this action against the City of Plano, the Plano Police

  Department, Officer Brad Neal, individually and, Officer John Doe, Individually as said

  Defendants, jointly and severally, have denied Plaintiff his rights as guaranteed by

  the Constitution and laws of the United States of America and the State of Texas.

                                 I. PRELIMINARY STATEMENT

        Plaintiff, Hadrian Mumpuku, brings this lawsuit against Defendant, Brad Neal,

 individually and the City of Plano, the Defendants together to remedy violation of his civil

 rights and the use of excessive force on the part of the Defendant Brad Neal, and the City

 of Plano, the Defendants together to remedy violation of his right to public information

 pursuant to the Texas Open Records Act. Officer Neal used excessive force by using a

 taser gun and tasering Plaintiff without probable cause when Plaintiff had not committed

 any infraction or provided any basis to legally justify the force used by Defendant Neal in

 violation of the applicable City using Force Policy and federal law.


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       This civil rights action challenges as excessive force the unjustified tasing of

Hadrian Mumpuku, by Plano police officer Brad Neal. Mr. Mumpuku was not engaged in

any criminal activity and posed no threat to anyone when he was tased on November 5,

2016. The Plaintiff hopes that through this case he will finally secure a full explanation of

the events of that night; impose accountability on those responsible for his suffering and

damages, receive fair compensation. In the aftermath Plaintiff will share what he learns

with others in order to prevent future needless injustices and/or deaths due to improper

illegal use of tasers.

                                           II. PARTIES

1. Plaintiff is Hadrian Mumpuku an African American resident of (Lewisville, Texas and)

   a citizen of the State of Texas at the time of his tasing and Officer Neal s unlawful

   conduct.

2. Defendant City of Plano and can be served with summons upon the ayor of the City

   of Plano, Harry LaRosiliere, at the Plano Municipal Center, 1520 Avenue K, Plano,

   Texas, 75074.

3. Defendant Plano Police Department is a political subdivision of the City of Plano and

   can be served with summons upon the Mayor of the City of Plano, Phil Dyer, at the

   Plano Municipal Center, 1520 Avenue K, Plano, Texas, 75074.

4. Defendant Brad Neal was at all times relevant to this action a law enforcement officer

   employed by the Plano Police Department. Neal is a person under 42 U.S.C. §1983

   and at all times relevant to this case acted under color of law. He is sued solely in his

   individual capacity.




PLAINTIFF S ORIGINAL COMPLAINT                                                       PAGE 2
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5. Defendant Bay u Regi naJJ ledical-Genter- yWafK) is a corporation with its principal
                            3 o) a.) i t i hd                   so-i
    and registered offices at-2-0 4-B yan St eet, Suite-SSQQ ailas e as SS -. it-may

  -fee erve with pmcess -by~ n/in ,its egister-ed agentr6TGor orati© H ystemraf

  -laSS-Bj an-Stfeet Siiite-QOO Baltasr Fexas S Q .

6. Defendant John Doe was, at all times aterial to this suit, an employee of the Plano

   Police Department. Each of the acts complained of herein arises from the conduct of

   John Doe while acting under color of state law and was committed within the scope of

   his employment and authority with Collin County.


                              III. JURISDICTION AND VENUE


7. The above aragraphs are incorporated herein by reference.

8. Jurisdiction in this Honorable Court is based on federal question 28 U.S.C. §1331;

   supplemental jurisdiction overstate law claims is granted by 28 U.S.C. §1367.

9. Venue is proper in the Eastern District of Texas, Sherman Division, as this is the

   district where the claim arose in accordance with 29 U.S.C. § 1391(b).


                                         IV. FACTS

      A. Plaintiff Runs out of Gas

10. The above paragraphs are incorporated herein by reference.

11. Officer Neal, in a number of unlawful and discriminatory acts used excessive force by

   using a taser gun on Plaintiff without any justification. Upon information and belief,

   that Neal and the other PPD officers on the scene were Caucasian.

12. On November 5, 2016 Plaintiff ran out of gas and began walking to find a gas station

   and other help.


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13. On this evening Neal unjustifiably stopped and detained Plaintiff without any probable

   cause. Without warning, he deployed the pro es twice to Plaintiffs back.

14. Mr. Mumpuku was complying with the officer s commands when Officer Neal fired with

   malice and/or deliberate indifference used the taser in stun mode . Neal use such

   force with this process that the metal barb piece of his taser gun penetrated the back

   of Plaintiffs s ull and lodged in his scalp. This caused Plaintiff extreme pain, his taser

   at Mumpuku in probe mode.

15. Upon information and belief, after the Plaintiff went down writhing in pain, Defendant

   Neal switch the taser to Drive Stun mode and rammed it into the back of Plaintiffs

   head.

16. “Probe mode is a function of the taser device whereby two barbs are deployed at a

   subject and a continuous electric shoc is administered to the suspect through the

   barbs.

17. "Drive Stun mode is a function of the taser device, when used properly, whereby the

   probes come in contact with the skin and do not penetrate, thus causing the circuit to

   be complete through the surface of your skin or by the "arc" occurring through air.

18. Officer Neal gave no warning or announcement that he was going to deploy his tase

   probes twice or use the Drive Stun mode in this manner.

19. Mr. Mumpuku did not pose a threat to any of the officers or anyone else.

20. Mr. Mumpuku was clearly not carrying any weapon.

21. Mr. Mumpuku then fell face first to the ground. Within a short period of time Mr.

   Mumpuku became unresponsive.

22. The Plano Fire Department was called to treat Mr. Mumpuku.



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23. The EMTs from the Fire Department provided treatment when they arrived and then

   transported Mr. Mumpuku to Medica               r of Plano ( MCP ). The chart below

   depicts the findings of the MCP physicians and other professionals who purported to

   provide Plaintiff care.




24. Shortly after discharge from MCP without any x-rays to his head injury, Plaintiff

   continued experience an extreme headache. Plaintiff sought treatment at Baylor Scott

   & White Medical Center Centennial ( BSWMC-Centenniai ). There, medical

   professionals rendered a diagnosis that included the findings summarized in the

   following images:


            1 509.9QXA Unspecified injury of head, initial encounter
            2 S0G.Q5XA Superficial foreign body of scalp, initialjencounter
            3 Y35.813A Leqal intervnt involvi g manhandl ng, susp ct injured, init




PLAINTIFF S ORIGINAL COMPLAINT                                                       PAGES
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                      DISCH RGE INSTRUCTIONS                            FOFM3
                      FOREIGN BODY. Soft Tttsua {Removed)               Medication Recondlialien
                      Clo ed Heed tnjurie* - HEAD INJURY. No Wake-      Wort Releasa Form -1 ay
                      Up (Adult)                                         ort Rteeete Fonn 2 day*
                      FOREIGN BODY. Soft Tiuoe {Not Removed]            Fertely Wo k rtewn
                       FOLLOW UP INSTRUCTIONS                            PRESCRIPTIONS
                       Private Pfcyefclen                                Cephirtuin
                         WnerK Ae eewded                                 Meten
                       Smart, Kenn th <Su<tf - PtoMic)                   Tyl*r»FC«tetee *3
                         When: 2 - 3 dey*; Reason: Further diagnostic
                       wort-up. ftectw* to ay* cwnjjWnta
                       Najera, Robert (Surg - Ptw«c. Sorg - H n . Oral S
                       M xotsctei Surgery (OMF5))
                         When: 2-3 days; Reason: Further diagnostic
                       wortc-xn echeek todeVs complewt*
                       SPECIAL NOTES
                       Foreign body removed, oisca of barb from Ste taaer-
                       A» diaeuue . the amall, hooKIBte bar piece that we attem ted to get we »not found, but the targ«r
                         etal piece remove . Dee He attempia at ipe lzaKon, t N waa unable to ee retrieved at Btte time.
                       V H provide rvtorral to plaMie surgeon who could evaluate ml* and o a ft rttie scal dhteectten to
                       remove i .
                       Pate me icine ea needed and staple* te the scal oul in 8 daye. unlesayi u go In the ptestic surgeon
                      j before then wfw wfl use i o same inds in ma e tonigM to retrieve th m ste d foreign body. This may
                      Ibe the bette course cl odion since the woun will s*U b sor -open




    TEStg AND PROCEDURES|
    G5i            '  !
    None
    Red
    CT Head or Brafei WO Contnft: blunt head trauma with ww»enlr>Q HA after tftareaOoh, Cervical Spine CT VWO Contrast
    neck pa n after attewaticn. Skull Limited; skull Xra to eval t at the FB seen onCThaa been fully removed

    Proce ure*
    FS removal otter. FB removal otoer

    OHter
    None



            Prosontatlon;                                                                             !
            n/o?                                                                               [
            19:S6 Method of Arriva Ambulatory, j                                                                             rjb
            19j56 Acuity? ESI 3, I                                                                                           rjb
            19;b6 Presenting coffjsiaint! Patient states; headache for the Innt 3 days                                       rjb
                  that atarte after the police hit the back of hia head with a blunt
                  object, pa ient was af; Piano hospital and was dischar e there with no
                  medication, patient states tha the doctor just ferieflly loo at the
                   head but no teat was done. Recant T avel; No travel iaside or outside
                   the country in the last 30 days. No exposure to anyone who t aveled
                   in last 30 days. Acuity; ESI ,1. Method of ar ival; ambulatory, by
                   «aif with steady gait. Communication; Speaks Fluent English. Pt.
                   Arri ed from; Homo. |
                          mmmm




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     Tii. Assess:
     19:69 Headachy Histocy: a change in the character of t e hea dacha th           rjb
            patient io experiencing haa occyced, enorai: Appears well developed,
            well nourished, well gro med, uncomfortable. Is appro]prinfca for ago,
            cooperative- Neuro: i.e el of Consciousness is awake, lert, Oriented
            to person, lace, time. Repor s blurred vision eadset- a. Rai :
            Complains of pain in head Pain currently is 9 out of 10 on a pain
            scale- Respiratory: Airway is patent Respiratory offoi U la even,
     ~ unlabored, Respiratory pattern ia regular, aymmotrical Sopcis
            Screening; Based on my assessmen , there is no clinic     sus icion of
            infection currently present. Currently 2 or more SIRS criteria ra
            not present.

      Assessment:
      21:30 General: abates he was hit on the bac of the head by police a few kli
            ays ago, c/o wo sening hendneh since injury. Generai: Appears in o
           apparent distress, well developed, well nourished, ell groomed, la
           appropriate for ago, cooperative. P in: Complains of j ain in hea
           Pain curr ntly is 9 out of 10 on a pain scale. Q ality of pain is
            escribed as achi g. I agree wi h the Triage Nurse's 49flC33fnent da
            ocumente i t e triage assessment section. Neuro: l ve
           Consciousness s a a e, alert. Oriente to person, pi4ca, time. Gait
            a steady, Speech is normal. Facial symmetry ap ears normal. Pu ils
           are PE RLft, Reports headache Denies eakness blu re Vision numbness.
           Car iovascular: Ca illary refill is b is in bilateral finge s, No
           chost ain. Respiratory: Airwa is paten Respiratory(effort ia even,
           unlabored, Respiratory pattern is regular, aymmetcicoi. GI: Denies

      Name Hadrian Mumpuku
      MRH:0003<1394V
      Account#:006216133
      Pa e 2 of S




      22:52 General: Spoke with Quinice with Plono PD, na ed if tt ey needed to
            send an officer out to check fi B. She states that they I a not need to
            send anyone out. But if we felt any investigatio neeejed o be doner
            we would need o con act Frisco PD. \
      23:51 General: Pa ient aiting CV results prior to diacharda.




    Proce ure
    11/07
    20:14 CT Head or Brain WO Contruut blunt hea trauma with orsening HA                   EDHS
          alte alternabion Ordered.
    20:44 Cervical Spine CT W/O Contrast: ock pain after altercation Ordered
    20:44 Imaging: CT ordered.
    22 4? Assist provider, foreign body removal of metal rod fc6m acalp Se up              k4
           for procedure. Porformnd by Phillip Admi e MD Dressed with 4X4s,
          tape. Patient tolerated well*
    23 29 Skull Limite : skull Xray to aval that the FB seen on CT has been                EDMS
            fully removed Or e ed.
    11/08
    00: 0 Assist provi er, for ign body removal of from scalp Set up fo                    lr4
          p oce ure. Performed by Phillip Admire MD Droase with 4X4s, tape,
          Patient tolerated well.




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       T'll fcrTT s rTresen EK OHMpT n                         Ten tate ieadach o fi a's
            days that startod after the police hit the back of his head w h a
            blunt object, patient was at Plano hospital and waa ischarge their
            with no me ication, patien sta es that he doctor juaft briefly look
            at he hea but no test was done, rjb




            19s5$ Presenting complaints Patient atateas headache foe the last 3 days
                   that started after the police hit he back f his hea with a blunt
                   object, patient was at Plano hos ital and was dlacharqje thoro with no
                   me ication, patien states t at the octor just briefly loo at the
                   head but no teat van done. Recent Travel; Ho travel inbi © or outside
                   the country in the las 30 days. Ho exposure to anyone who travele
                   in last 30 days. cuit ; ESI 3. Metho of arrival; amb latory, by
                   self with steady gait. Communication; Spe ks Eluent Edgiiah. Pfe.
                   Arrived From; Keane. j




           20;44 The patient or guardian reports injury, pain, swelling. The
                complaints affect fcho right si e of the back of head, pontext of
                 injury; The problem was sustained outdoors. the pt st jtos that a
                couple da s ago, he was apprehende b he p lice for j
                hallucinating was using drugs. He states that he wa hit on he
                back right of the head with a blunt object, taken to for
                evaluatin, but no imaging. He says in e last couple jof ays, he has
                had worsening HA, acme swelling to the back R of the Head an feeling
                grogg . Also, a little bit of nec soreness and state some tin li g
                to the hands bilaterally, but no weakness. |




          Proce ures
          23:26 Performe FB remo al from ST scalp scalp cleansed
          2 ;26 Performed sc lp area cleanse with antiseptic. 1% Hdc with epi
                  infiltrated x 5 cc and uain a #11 blade incised along the swollen
                  area. Probed with t e forceps and nee le iver and r         metal
                  ES- possibly metal shaf from tasec barb. The wife st ates that e
                  was taaad the other nig . Affcr this, ho wound was cl eanaed and
                   horoughly an the wound closed with Staples x 4.
          11/08
          00:41 Performed 2nd atte t base on retaine barb. I re-ant athetized the
               pt with 1% lidocair ith epi 4 cc. then, took, out the prior
               staples. Afte this, 1 dissected own again with sciss ora, forceps,
               and needle driver. The small uft FB nar the surface that is seen was
               remove . However, espi e 30 min or so of trying, I was unable to

          Name;Hadrian Mumpu u
          MRN;000343941
          Accoun #;00621618$
               2 of 6
                                 PilBWPIlPilB imiBliilBiBiliililBilllililH




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         NamerHadrian Muropuku
         Emerqc cy Department
         Age;29 years
         SexjHale
         DOB:01/25/1997
         MRHj000343947
         Arrival Date; /07/201€
         Arrival iimetlOiSS
           coimti iQ06216189
          • 09
         Private MD;
         Dx:Injury Closed ead/ Foreign Body

                 find and remove the barb. The t, an wife were aware of this, and at
                 this poin , wanting to abort the attemp an go homo. I tol hem
                 that likely the rootal iner and wouldn t cause a probi e , but will
                 provide reference for lastic su geon to remove, they are agreeable
                 to this.

         MDM:
         11/07
         20:42 P tient medically screened.
         21:29 inancial e istration comple e.
         23:20 Data reviewe : vital signs, nu ses notes. Data in er t efco : P lse
                 o im try: on room air, 96%, Interpretation: acceptable . Tes
                 interpreta ion: by ED physician or mtdlevei provide : not applicable.
                 Counseling: I had a de ailed iscussion ith the patis nt and or
                 guardian regarding: the istorical points, exam findin gs, and any
                  iagnos ic results supportin he discharge a mit dlag nosis.
                 ra iology results, there is on CT a metallic FB in the scalp over the
                 swolln tiaaue. Iniitally idn't see any break in akin. but on second
                 review, there is a small scabbed break, not oven a cm in leng h. St
                 denies any prior surgeries, etc, n the area.
          3:21 Special discussion: in counseling with the pt, we will remove the
               metallic piece.
            OS
         00: 0 Special discussion: after emoval of he large piece c f he metal
               barb, I obtaine plain Skull Xra to see if here we e othe pieces.
               near the surface, t ere is a small tuft of FB resent and deeper,
               there is a barb in the Soft issues. I showe the p a n ife re
                  his. We ill otteraot to remove he bar ..




           - Discharge Instructions FOREIGN BOD r Soft Tissue [No Reifovedj,
             FOREIGN BODY, Soft Tissue [Removed], Closed Head Injuries |- HE D
             INJURY/ No Wa e Up ( dult),1



            Notes! <? oreign bo y removedr piece of barb from the ta er-*</P>
            <?>Ag discussed, the small, hook like barb piece that we attempte
            to got was not foun , but the larger metal iece removed. Despite
            attempts at localization/ this was unable to be retrieved iat this
            time. </?> <P>Will provide referral to plas ic surgeon w oj could
            eveluate his and do a furthe scalp dissection to remove jit »</!?>
            <P>Pain medicine as needed an staples in the scalp out iri 5 days,
            unless you go to the plastic surgeon before hen who will juse the
            same incision made tonig t to retrieve he ret ined foreig b dy.
             his may be he bette course of action since the wou d vi[ll still
            be 3em-1.-open</P> |




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                                           Baylor Scott & White Medical Center
                                                          12505 Lebanon Road
                                                         Frisco. fX75Q3§*&298
       Patient           MUMPUKU, HADRIAN M Attending Provide                                           ADMIRE MO,PHILLIP
       MRN#:             343947 Admteeion ate:                                                            mzQis
        ccount#:         6216188 Dtecha e Date:                                   11/7/2018
                         1/25/1087 / 29 years / Mate Lab Medical Direc or(sj: Elvte Martinez Blanco M.O.



                                                          Computed Tomogrephy
      Accession &                      Exam D te/Time: Procedure: | Ordering Physician:
      33 T-1MM574                      11/7/2G16 21:0? CST CT Head or Brain o Ccnt/ast DMIRE MO,PHILLIP
      Report

      Tfecftnfcjue: Axial images from ( e skuiibase through Ih© vertex without contrast Sagittal an coro al reformatted images
      were recor e on the PACS for review. The exam ation was performe with As tow s Reasonabl Achievable (AL RA)


      Findings:                                                                          |
      No intracranial hemorrhage, mass lesion, mass effect, or hydrocephalus. No CT evide ce of acute infarct. No extra-axial
      collections.                                                                    |

       osterior scalp soft tissue swelling an multiple foci of subcutaneous gas within the deep posterior scalp near the mi line,
      Thera is a somewhat tubular high density within the fight posterior scalp, measuring 2 cm m length. The density suggest
      metal. Thera are ridge like changes in caliber In this structure, There is streak artifac from this ensit which focally mildly
      obscures evaluation of the brain parenchyma. o efinite fracture is i entifie .

      leftward nasal septal eviation. aranasal sinuses an mas oi air (rails era dear.

      Fin ings iscussed with Dr, mire at 9:30 PM,




      Impression:

      Posterior scalp injury write face radon and soft tissue swelling.

      2 cm somewhat tubular foreign od ithin the right posterio scalp res lting in focal a itifad that mildly obscures evaluation of
      tee adjacent b ain parenchyma. The density of tee foreign body suggest metal. Histo y there was blu t trauma to this area
      with mil soft tissue swelling but no clear laceration teat would allo for passage of a metallic densit . This could relate to
      prior intervention such as a residual piece/valve relate to shunt tubing, but tee patted was questione and does not report
      any corres onding clinical history, and this woul not e lain the soft tissue adjac t gais. There Is slight irregularity in the
      adjacent outer fable tee calvarium witeout a welWefined fracture line visualized.




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                                 Baylor Scott & White Medical Center • Centennial
                                                12S05 Lebanon Road
                                                Frisco, TX 75035-6298
        Patient:          MUMPUKU, HADRIAN M Atemdlng Provide :                                          ADMIRE MD,PHILUP
        MRNft             343847 Admleslon Date:                                                         11/7/2016
        Account ft        6216188 Discharge Dale:                                                        11/7 016
                          1/25/1987 / 29 years /Male Lab Medical Dim :or|«):                             Elvia Martltvaz Blanco M.i



                                                          Diagnostic Radiology
       Accession #;                    Bam Dale/rme:                   Procedure:                       Ordering Physician:
       333-XR 16-014560                11/7/2016 23:49 CST             XR Skull < 4 Views               AD IRE MD,PHILLIP
       Report
       ORDERING PHYSICI N: ADMIRE, PHILUP

       HISTORY: Possible foreign body

       COMPARISO : none

       TECHNIQUE: Two views of the skull
       FINDINGS:

       Two lateral views of the skull are presented for in erpretation. No distinct acute fractures or islocati ns a e seen. Thr e
       scalp staples are seen at the level of the posterior occipital region. ( jnear metallic ds |nsity foreign body Is seen dee ithin
       the s ft tissues si this le el, along the outer table of t e calvarium.


       IMPRESSION:
       Linea hoo l e metallic density foreign body see projecting deep ithin th soft tissues of the scalp In the occipital region o
         e limited lateral views provide .

       RL: 460

       AHC: 99053

        •Fiha/Report***
       Dictated: m Q1$0:18 Dictated By: 8URTSA MD, lUUMt
       mctmnie Signat m: IWBftQIBmm Signed By: BURTEA MD, IUUAH
                                                                                                                                              w



B. Officer Neal s Culpable Conduct

25. At all times relevant to this action, Defendant Neal acted unreasonably, negligently,

    recklessly, wantonly, willfully, knowingly, intentionally and with deliberate indifference

   to Plaintiffs safety and rights.




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26. Plaintiff was stopped and detained by Defendant Neal without probable cause or

   reasonable suspicion to believe that Plaintiff had committed a crime.

27. Defendant Neal s use offeree on Plaintiff on November 5, 2016, was unreasonable

   and excessive and violated clearly established law.

28. At the time of the use of force in this case Defendant Neal was required to receive

   taser training certification.

29. At the time of the use of force in this case, Taser International, the company that

   manufactures the taser in question (upon information and being) had issued a product

   warning, that was known or should have been known to Defendant Neal, indicating

   that there is an increased risk of injury to the subject when taser barbs strike an

   individual in the chest or any other prohibited body areas like the head.

30. In previous product advisories the manufacturer of the taser sent a product warning

   advising taser users to only target the lower center mass (below the chest) and legs

   for a chest shot.

31. On November 5, 2016, Defendant Neal was aware that brain, cognitive heart rate,

   heart rhythm and other major bodily functions can be impacted by a taser ap lication

   in prong mode to the upper chest.

32. On Novembers, 2016, Defendant Neal was aware that a taser application to the upper

   chest in prong mode posed a risk of causing cardiac arrest.

C. Harm to Plaintiff

33. Defendant Neal proximately caused Mr. umpuku to suffer extreme mental distress,

   terror, mental anguish, and the anguish of experiencing his last moments of life in

   severe physical pain.



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34. Even though Plaintiff cooperated, Neal fired his taser into Plaintiff s back twice and

   Plaintiff fell backwards, writhing in pain.

35. There was absolutely no reason for the use of the taser gun on Plaintiff after the first

   two deployments.

36. The treatment of Plaintiff by the PPD was shocking and has caused Plaintiff to suffer

   and continue to suffer severe head, neck, shoulder and head pain due to the actions

   of Neal.

37. Plaintiff has also experience crippling anxiety since he was tasered.

38. The actions of Officer Neal were shockingly violent, and the use of excessive force

   was done to inflict severe pain without any justification.

39. Upon information and belief, Plaintiff was racially-profiled because he is black.

40. Upon information and belief, there is a clear racial disparity in Plano and the PPD has

   a history and pattern of intentionally discriminating against African Americans and

   other minorities.

41. Upon information and belief, Neal and the Plano Police Department are under

   investigation due to the incident involving Plaintiff.

42. The Defendant s actions have caused Plaintiff to suffer substantial shame,

   embarrassment, mental and physical suffering.

43. Defendant Neal’s foregoing actions of negligent and/or reckless and/or intentional.


                       V. EXCESSIVE FORCE/ASSAULT AND BATTERY

44. The above paragraphs are incorporated herein by reference.

45. Defendant Neal has, under color of law, deprived Mr. Mumpuku of rights, privileges,

   and immunities secured to him by the United States Constitution, including the


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   prohibition on unreasonable searches and seizures contained in the Fourth

   Amendment to the United States Constitution. At the time of Defendant Neal s

   conduct, Plaintiff had not committed any infraction otherwise to legally justify the force

   used by Defendant.

46. Defendant Neal’s actions stated above, inter alia, were committed under color of state

   law and were violations of Plaintiffs clearly established and well settled Constitutional

   and other legal rights.

47. Defendant Neal placed Plaintiff in fear of physical harm and contact and then

   physically harmed and contacted Plaintiff without justification. Plaintiff suffered

   excessive force by their wrongful conduct all in violation of the Fourth, Eighth, and

   Fourteenth Amendments of the United States Constitution, actionable through 42

   U.S.C. §1983, et seq., and at Common Law.

48. Furthermore, when a person such as the Plaintiff is seized and is not a suspect and

   have committed no crime but is forced to undergo police escalation and brutality of

   the situation (i.e., tased in the head), the importance of the governmental interests

   alleged to justify the intrusion is necessarily diminished. As such, the actions and/or

   omissions of said officers cannot be justified under the circumstances of the instant

   case.


                             VI. Section 1983 Municipal Liability.

49.lt is also well-established that municipalities are liable under 42 U.S.C.S. § 1983 for

   constitutional torts that are in compliance with the municipality’s customs, practices,

   policies or procedures. A municipality is liable for constitutional deprivations visited

   pursuant to governmental custom even though such custom has not received formal



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   approval through the body s official decision-making channels. In this case,

   Defendants are liable because they sanctioned the custom, practice and/or policy or

   procedure that led to illegal seizures.

50. Defendants’ actions were a customary practice and/or policy or procedure that was

   sanctioned by Defendants, out of which deprived Plaintiff of his civil rights by statute

   and both the Texas and United States Constitutions. Liability for Defendants is

   established under § 1983 because the arrest of citizens, with little or no justification,

   is a persistent, widespread practice of city employees namely law enforcement

   officers that, although not authorized by officially adopted policy, is so common and

   well settled as to constitute a custom that fairly represents official municipal policy.

   Defendants had actual or constructive knowledge of this practice, custom and/or

   policy or procedure and sufficiently numerous prior incidents of unauthorized seizures

   that a custo and accession to that custom by the Defendants’ policy makers.

51. Defendants unspoken policy of wrongfully seizing citizens is a decision that reflects

   deliberate indifference to the risk that a violation of particular constitutional or statutory

   rights will follow the decision. In the alternative, Defendants are liable under § 1983

   for failure to adopt a policy of precluding officers from unreasonably seizing or

   arresting citizens because such failure to adopt such a policy is one of intentional

   choice.

52. Moreover, Defendants are liable for inadequate training of employees under § 1983.

   Liability attaches to Defendants because the Defendants’ failure to train a ounts to

   deliberate indifference to the rights of the persons with whom the police come in

   contact.



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53. In particular, Plaintiff alleges that the training program in relation to the tasks the

   particular employee must perform is inadequate in the respect that the program fails

   to teach new employees that instigating the false arrest of citizens violates those

   citizens constitutional rights. As such, the deficiency in training actually caused

   Defendants to violate Plaintiffs’ constitutional rights.


        VII. EIGTH AMENDMENT VIOLATION-FAILURE TO PROVIDE MEDICAL
                                        CARE AND TREATMENT

54. Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length

   herein.

55. Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length

   herein.

56. Defendant Neal showed deliberate indifference to Plaintiffs serious medical needs

   and wanton infliction of pain.

57. Defendant Neal s actions stated abo e, inter alia, were committed under color of state

   law and were violations of Plaintiffs clearly establish and well settled Constitutional

   and other legal rights.

58. Defendant Neal caused Plaintiff to suffer cruel and unusual punishment in violation of

   the Eighth Amendment of the United States Constitution, actionable through 42 U.S.C.

   §1983, et seq.

             VIM. 42U.S.C. Sec. 1983 DISCRIMINATION BASED UPON RACE

59. The above paragraphs are incorporated herein by reference.




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60. By committing he foregoing acts of discrimination against Plaintiff, Defendant Neal

   has violated Plaintiffs clearly establis ed and well settled Constitutional and other

   legal rights.

61. Said iolations were done with malice an /or reckless indifference and warrant the

   i position of punitive damages.

62. The aforesaid conduct of Defendant Neal was intentional and undertaken in reckless

    isregard for the fede ally-protected civil rights of Plaintiff.

63. As a result of the said violation of 42 U.S.C, § 1983, Plaintiff has suffered

   discrimination, humiliation, embarrassment, and other harms, and is entitled to entry

   of judg ent in his favor, an agai st Defendant eal together with an award of

   declaratory and injunctive relief, damages, and ancillary relief as provided by 42

   U.S.C. §1988.

                   IX. I TENTIONAL INFLICTION OF EMOTIONAL DISTRESS
64. Defendants acted intention lly or recklessly in fajsely accusing Plaintiff of a crime

   which resulted in his~a *estand being held in-jai . The conduct in giving intentionally

   false information to the police to have someone arrested is extreme and outrageous.

   The actions of Defendants caused Plaintiff emotional distress and the emotional

   distress was severe.

                                         X. DEFAMATIO

65. Plaintiff is a private individual. Defendants are non-media defendants. The speech

   involved and elated herein does not involve public issues. Thus, Plaintiff asserts that

   Defendants made false and defamatory statements accusing Plaintiff of a crime and




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   said statements were published to third parties including, but not limited to, police

   officers in Texas.

66. Defendants acts constitute slander per se because they orally and by conduct

   communicated to third parties that Plaintiff had committed a crime. Further,

   Defendants are strictly liable for the defamatory statements that were made. Plaintiff

   suffered da ages as a result The defamatory statements accused Plaintiff of a crime

   and as such constitutes slander per se and damages are presumed.

67. In the alternative, Plaintiff is a pri ate individual. Defendants are non-media

   defendants. The speech involved and related herein does not involve public issues.

   Thus, Plaintiff asserts that Defendants made false and defamatory statements

   accusing Plaintiff of a crime and said state ents were published to third parties

   including, but not limited to, police officers in Texas. Defendants' acts constitute

   slan er per se because they orally an by con uct communicate to third parties that

   Plaintiff had committed a crime. Defendants made such statements with actual malice

   because they either knew the statements were false or rec lessly disregarded the

   truth. In the alternative, Defendants were negligent in making the statements in that

   they should have known the statements were false.


                     XI. VII. NEGLIGENCE AND G OSS NEGLIGENCE
68. Plaintiff asserts that Defendants owed a legal duty of care to Plaintiff. 8.02 Defendants

   breached the duty of care.

69. Defendants did not act in a reasonably prudent manner under the circumstances.

70. Plai tiff suffere amages roximately resulting from the neglige ce of Defenda ts.




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71. Defendants were negligent in the hiring, training, supervising and disciplining of its

   employees.

72. Defendants were negligent in having Plaintiff detained, arrested and humiliated.

73. Upon information and belief, Plaintiff asserts that Defendants were negligent and/or

   grossly negligent. Defendants were ne ligent and/or grossly negligent in handling the

   investigation that led to Plaintiff s-a st. As such, Defendants are responsible for the

   harm to Plaintiff.


                           XII. QUALIFIED IMMUNITY (GENERAL*
74. Qualified good faith immunity stands for the proposition that even though the civil

   rights of a complainant may have been violated, if the defendant engaged in the

   conduct in good faith there is no liability for that defendant. The standard by which a

   defendant is entitled to good faith qualified immunity is objective, not subjective.

   Defendants actions judged by such objective standard protects, all but the plainly

   incompetent or those ho knowin ly violate the law.

75. The determination of objective reasonableness ust be based on a version of the

   facts most favorable to the Plaintiffs. To the extent that credibility questions exist, a

   fact-finder continues to be necessary.

76. In the instant case, Plaintiff alleges that Defendants are not entitled to claim, qualified

   good faith immunity. Importantly, Defendants never had a good faith belief in their

   conduct because they acted in a manner demonstrating that they were plainly

   incompetent and knowingly violated Plaintiffs civil rights.

77. When the facts are taken in the light most favorable to the Plaintiff, it is clear that

   Plaintiff was unlawfully detained for a period of twenty-three days. Any reason given


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   by Defendants for their unlawful actions and/or omissions does not warrant the

   application of qualified good faith immunity because there was an unreasonable

   seizure executed without a proper warrant and a lengthy detention ending so abruptly

   that these actions could only be implemented by someone plainly incompetent or

   someone who knew or should have known they were violating the law.

78. Additionally, Defendants were never in danger nor were any other persons in the

   vicinity in danger of Plaintiff. Plaintiff has asserted a violation of his constitutional right

   to be free from unreasonable seizure; this right was clearly established at the time of

   Defendants actions. Moreover, Defendants actions were objectively unreasonable in

   the sense that they knew or reasonably should have known that the actions taken

   within their authority or responsibility would violate the constitutional rights of Plaintiff.

                       XIII. QUALIFIED IMMUNITY (OFFICER NEAL)
79. Qualified immunity does not shield Officer Neal from suit or liability. As set forth above,

   Officer Neal violated Plaintiffs federal rights. Additionally, at the time Officer Neal

   neglected Plaintiff, it was clearly established that defendant had a duty to not be

   deliberately indifferent to Plaintiffs serious medical needs.

80. The law clearly imposed a duty on state actors such as Officer Neal to use the level

   method of force that is reasonable under the circumstances. The law clearly prohibited

   Officer Neal from physically beating and tasing Plainti f with no probable cause.

81. The law clearly prohibited Officer Neel from deliberately refusing to address Plaintiffs

   serious medical needs, especially when Officer Neal caused those medical needs.

   Accordingly, Officer Neal’s conduct was objectively unreasonable under the state of

   the law at the time.



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82. Officer Neal was aware that his acts and omissions violated clearly established

   constitutional duties. However, Officer Neal consciously disregarded his clearly-

   established duties because he intended to harm Plaintiff and because he was allowed

   to unlawfully inflict harm on other similarly situated wrongful detainees pursuant to the

   City s customs, policies, and practices.

83. For these reasons, qualified immunity does not (and should not) shield Officer Neal

   from suit or liability.


                                      XIV. JURY DEMAND

84. Plainti f hereby demands a trial by jury of all issues triable by jury.


                                    XV. PRAYER FOR RELIEF

85. Plaintiff demands judgment in his favor and against Defendants individually, jointly

   and/or severally, in an amount in excess of Seventy-Five Thousand ($75,000.00)

   Dollars, together with interest, costs, punitive damages, and attorney s fees as this

   Honorable Court deems just, including equitable injunctive relief. WHEREFORE,

   Plaintiff prays that this Court:

             A. Award Plaintiff compensatory damages in an amount to be shown at trial;

              B. Award punitive damages against the Defendant in an amount to be
                  shown at trial;

             C. Award Plaintiff reasonable attorney s fees, costs and disbursements;

              D. Grant Plaintiff such additional relief as this Honorable Court deems just,
                  including equitable injunctive relief.

             E. Immediately create formal policies and procedures wit and/or remedial
                 training programs related to the directives and instructions for use offeree
                 and the use of taser/stun guns ental subjects.



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             F. The appointment of a monitor to review all ideotapes and reports
                regarding use-of-force incidents, specifically tasers.

             G. An order prohibiting written reports prepared by those in olved in use-of-
                force incidents from being revised or altered based on videotape
                e idence.



                                                        Respectfully submitted,
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                                                        ATTORNEY FOR PLAINTIFF

                                 CERTIFICAT OF SERVICE
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        I hereby certify that on this §thtixjda -of44ovembe 04 I caused a PDF version
 of the foregoing document to be electronically transmitted to the Clerk of the Court,
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                                           By: /s/ Emmanuel U. Obi




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